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UN|TED STATES DlSTRlCT COURT ;-_;.-Mi;,_; /YY/
WESTERN DlSTRlCT OF TENNESSEE " '“

 

MEMPH|S D|V|S|ON §§,§Ur: _rj fail 3 18
w ",' `
UN|TED STATES OF AMER|CA
Plaintiff,
.V.
DERR|CK JONES
Defendant.

JUDGMENT AND COMM|TMENT ORDER

ON SUPERV|SED RELEASE VlOLAT|ON
(For Offenses Committed on or After November 1, 1987)

The defendantl Derrick Jones, Was represented by Rando|ph W. A|den

lt appearing that the defendant, who was convicted on l\/|ay 06, 2004 in the above
styled cause. lt also appears that defendant’s Supervised Release Conditions Was
modified on February 11, 2005 and that defendant has violated the terms of the modified
Conditions of Supervised Re|ease.

lt is hereby ORDERED and ADJUDGED that the modified Supervised Re|ease of the
defendant be revoked and that the defendant be committed to the custody of the United
States Bureau of Prisons to be imprisoned for a term of nine (9) months. Supervised
release shall terminate at the completion of said incarceration

Furtherrnore, the court recommends that the defendant be housed at the Federa|
Correction |nstitution, |Vlemphis, Tennessee or if FC|, Nlemphis is unavailab|e, ata location
in or around |Vlemphis, Tennessee.

The defendant is directed to self surrender to the custody of the United States
Marsha| on Monday, August 8, 2005 at 8:30 a.m.

signed this §dayofAuguSt,zoos.

 

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P n

Defendant’s ss No: XXX-XX-XXXX with F‘“‘B BEH“MSM mr 0

Defendant’s Date of Birth: 07/22/1975

Deft’s U.S. Marsha| No.: 18839-076

Defendant’s Mai|ing Address:3035 Cu|vert Ave., Memphis, TN 38108 @:>

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Notice of Distribution

This notice confirms a copy of the document docketed as number 58 in
case 2:04-CR-20104 Was distributed by faX, mail, or direct printing on
August 8, 2005 to the parties listed.

Eid¢ESSEE

 

Randolph W. Alden

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Kristen Coyne

US DEPARTl\/[ENT OF .TUSTICE
5722 Integrity Dr.

Millington, TN 38054

Honorable Tu Pham
US DlSTRlCT COURT

